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 6
                        UNITED STATES DISTRICT COURT
 7                 FOR THE EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,
 9
10                         Plaintiff,
                                                        Case No.: 2:19-MJ-00075-JTR
11
                      v.
12                                                      Motion for Detention
13   JAYDIN LEDFORD,
14                         Defendant.
15
16          The United States moves for pretrial detention of Defendant, pursuant to 18
17
     U.S.C. § 3142(e) and (f).
18
19          1.    Eligibility of Case. This case is eligible for a detention order because

20   the case involves (check one or more):
21
            ☐     Crime of violence (as defined in 18 U.S.C. § 3156(a)(4) which
22
23   includes any felony under Chapter 109A, 110 and 117);
24
            ☐     Maximum penalty of life imprisonment or death;
25
26          ☐     Drug offense with maximum penalty of 10 years or more;
27
28          ☐     Felony, with two prior convictions in above categories;

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 1          ☐     Felony that involves a minor victim or that involves the possession or
 2
     use of a firearm or destructive device as those terms are defined in 18 U.S.C.
 3
 4   § 921, or any other dangerous weapon, or involves a failure to register under 18
 5   U.S.C. § 2250;
 6
 7          ☒     Serious risk Defendant will flee; or

 8          ☒     Serious risk obstruction of justice.
 9
10          2.    Reason for Detention. The Court should detain Defendant because
11   there is no condition or combination of conditions which will reasonably assure
12
     (check one or both):
13
14          ☒     Defendant's appearance as required; or
15
16          ☒     Safety of any other person and the community.

17          3.    Rebuttable Presumption. The United States will not invoke the
18
     rebuttable presumption against Defendant under 18 U.S.C. § 3142(e). The
19
20   presumption applies because there is probable cause to believe Defendant
21
     committed:
22
23          ☐     Drug offense with maximum penalty of 10 years or more;
24
            ☐     An offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
25

            ☐
26
                  An offense under 18 U.S.C. §§ 2332b (g)(5)(B) for which a
27
28   maximum term of imprisonment of 10 years or more is prescribed;

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 1           ☐    An offense under chapter 77 of Title 18, United States Code, for
 2
     which a maximum term of imprisonment of 20 years or more is prescribed;
 3
 4           ☐    An offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
 5
     2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
 6
 7   2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or
 8   2425;
 9
             ☐    Other Circumstance as defined in 18 U.S.C. § 3142(e)(2).
10
11           4.   Time for Detention Hearing. The United States requests the Court
12
     conduct the detention hearing:
13
14           ☐    At the first appearance, or
15
16           ☒    After a continuance of three days.

17           5.   Other Matters.
18
19
20           Dated: February 21, 2019.
21
                                                   Joseph H. Harrington
22                                                 United States Attorney
23
24
                                                   s/ Patrick J. Cashman
25                                                 Patrick J. Cashman
26                                                 Assistant United States Attorney

27
28

     Motion for Detention- 3
     Document1
